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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Joshi Living Trust, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:18−cv−01713
                                                    Honorable Matthew F. Kennelly
Akorn, Inc., et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 26, 2018:


        MINUTE entry before the Honorable Matthew F. Kennelly: Motion hearing held
on 6/26/2018. Motion for limited relief from the PSLRA discovery stay [43] is denied
subject to entry of a preservation order. Mailed notice. (pjg, )




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